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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ABUATELAH,                                        )
                                                  )
                    Plaintiff,                    )
                                                  )
       v.                                         )       Case No. 22-cv-3998
                                                  )
VITTORIO, et al.,                                 )       Judge Steven C. Seeger
                                                  )
                    Defendants.                   )

  MOTION FOR LEAVE TO FILE DEFENDANTS’ MOTION TO STAY UNDER SEAL

       Defendants Village of Oak Lawn and Oak Lawn Police Chief Daniel Vittorio (“Village

Defendants”), by and through their counsel, Klein, Thorpe & Jenkins, Ltd., Officers Brandon

Collins and M. Hollingsworth, by and through their counsel, Del Galdo Law Group, LLC, and

Officer Patrick O’Donnell, by and through his counsel, O’Halloran, Kosoff, Geitner & Cook, LLC

(collectively “Defendants”), move this Honorable Court for an order allowing Defendants to file

their Motion to Stay All Discovery as to All Parties and Supporting Memorandum under seal

pursuant to Local Rule 26.2. In support thereof, Defendants state as follows:

       1.      After the filing of Plaintiff’s Second Amended Complaint, Defendants moved for a

stay because the incident in question was part of an ongoing investigation into the officers’ conduct

that could lead to criminal charges. Dkt. 29.

       2.      On December 12, 2022, the Court granted a stay, in part, but ordered the Village to

file an answer and permitted Plaintiff and the Village to exchange and respond to written discovery.

Dkt. 36.

       3.      On March 27, 2023, the Court directed that any additional motions about the stay

should be filed by April 21, 2023. Dkt. 54.



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          4.    Defendants intend on filing a Motion to Stay All Discovery as to All Parties and

Supporting Memorandum, which includes numerous references to Plaintiff’s underlying criminal

case and criminal background.

          5.    Because Plaintiff is a minor, Defendants believe that this information would fall

under the protections of the Juvenile Records Act, which provides that juvenile court records shall

not be made available to the general public, except pursuant to a court order. 705 ILCS 405/5-

901(5).

          6.    As there is no court order permitting Defendants to publicly disclose this

information, Defendants respectfully request that this Court enter an order granting leave to file

their motion under seal pursuant to Local Rule 26. 2.

          WHEREFORE, Defendants respectfully request that this Honorable Court enter an order

granting leave to file Defendants’ Motion to Stay All Discovery as to All Parties and Supporting

Memorandum under seal, and for any further relief the Court deems necessary and just.

                                                 Respectfully submitted,

                                                 By: /s/Anthony Becknek__

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                                                 By: /s Michael J. Victor

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